Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 1 of
                                           94


                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF LOUISIANA

   IN RE:                                                                                 CASE NO.

   FIRST NBC BANK HOLDING COMPANY                                                         17-11213
                                                                                          SECTION A

   DEBTOR                                                                                 CHAPTER 11

                                      MEMORANDUM TO RECORD
                                          AUGUST 7, 2019

               On August 7, 2019, the following matters came before the Court:

       1. Omnibus Objection to Claim 3, 4, 6, 7, 8, 10, 13, 14, 85 by Claimant Fred Beebe (10-1),
           Robert Bradford Calloway (8-1), Archie N. Duplantis, Jr. (85-1), Dean Haines (13-1),
           George Jourdan (3-1), Michael LeBeau (4-1), Michael Lulich (14-1), Kevin P. Reed (6-1),
           William Roohi (7-1). 1
       2. Joint Second Amended Chapter 11 Plan; 2
       3. Motion to Determine Amount of Claim of George L. Jourdan Entitled to Priority; 3
       4. Motion to Determine Amount of Claim of Michael J. LeBeau Entitled to Priority; 4
       5. Motion to Determine Amount of Claim of Kevin Patrick Reed Entitled to Priority; 5
       6. Motion to Determine Amount of Claim of William Roohi Entitled to Priority; 6
       7. Motion to Determine Amount of Claim of Robert Bradford Calloway Entitled to Priority; 7
       8. Motion to Determine Amount of Claim of Fred V. Beebe Entitled to Priority; 8
       9. Motion to Determine Amount of Claim of Dean Haines Entitled to Priority; 9
       10. Motion to Determine Amount of Claim of Michael Lulich Entitled to Priority; 10
       11. Motion to Determine Amount of Claim of Ashton J. Ryan, Jr. Entitled to Priority. 11

   Appearances were made by:

               Christopher T. Caplinger, counsel for Lead Plaintiffs in Securities Class Action;
               Barbara B. Parsons, counsel for NBC Bank Holding Company (“Debtor”);
               William E. Steffes, counsel for NBC Bank Holding Company (“Debtor”);


   1
     P-599.
   2
     P-621.
   3
     P-639.
   4
     P-640.
   5
     P-641.
   6
     P-642.
   7
     P-643.
   8
     P-644.
   9
     P-645.
   10
      P-646.
   11
      P-647.
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 2 of
                                           94


              Brandon Brown, counsel for the Official Committee of Unsecured Creditors;
              Jeffrey D. Sternklar, counsel for the Official Committee of Unsecured Creditors;
              Amanda George, counsel for the U.S. Trustee;
              Ward Benson, counsel for the Internal Revenue Service;
              Serajul Ali, counsel for the U.S. Treasury.

              The Court will admit the following exhibits into evidence:
   Exh. A – Declaration of John McGrail in Support of the United States’ Objection to Confirmation
   of the Second Amended Joint Chapter 11 Plan of Reorganization;
   Exh. B – Small Business Lending Fund – Securities Purchase Agreement dated August 4, 2011;
   Exh. D1 – Articles of Amendment to the Articles of Incorporation of First NBC Holding Company.
          The Court will grant the Omnibus Objection to Claim 3, 4, 6, 7, 8, 10, 13, 14, 85 by
   Claimant Fred Beebe (10-1), Robert Bradford Calloway (8-1), Archie N. Duplantis, Jr. (85-1),
   Dean Haines (13-1), George Jourdan (3-1), Michael LeBeau (4-1), Michael Lulich (14-1), Kevin
   P. Reed (6-1), William Roohi (7-1). 12 The Court will also grant the Motions to Determine Amount
   of Claim Entitled to Priority. 13 Within two business days, Debtor will submit proposed orders in
   accord with the Court’s ruling.

          The Court held a status conference in chambers regarding the pending accounting opinion.
   Then the Court went back on the record.

           No later than August 19, 2019, the parties will file briefs on whether side covenants or
   requirements bind the issuing corporation or the shareholders if they are not noted in the articles
   or on the face of the certificate.

         The hearing on confirmation of Debtor’s Second Amended Plan is CONTINUED to
   August 28, 2019, at 10:00 a.m. in Room B-709, 500 Poydras St., New Orleans, Louisiana.

              8/7/19                                                       /s/ Lauren S. Havrylkoff




   12
        P-599.
   13
        P-639, 640, 641, 642, 643, 644, 645, 646, 647.
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 3 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 4 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 5 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 6 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 7 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 8 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 9 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 10 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 11 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 12 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 13 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 14 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 15 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 16 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 17 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 18 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 19 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 20 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 21 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 22 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 23 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 24 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 25 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 26 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 27 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 28 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 29 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 30 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 31 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 32 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 33 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 34 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 35 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 36 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 37 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 38 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 39 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 40 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 41 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 42 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 43 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 44 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 45 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 46 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 47 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 48 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 49 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 50 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 51 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 52 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 53 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 54 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 55 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 56 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 57 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 58 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 59 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 60 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 61 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 62 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 63 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 64 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 65 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 66 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 67 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 68 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 69 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 70 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 71 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 72 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 73 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 74 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 75 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 76 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 77 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 78 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 79 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 80 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 81 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 82 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 83 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 84 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 85 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 86 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 87 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 88 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 89 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 90 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 91 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 92 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 93 of
                                           94
Case 17-11213 Doc 680 Filed 08/07/19 Entered 08/07/19 14:13:55 Main Document Page 94 of
                                           94
